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DATE 12/18/18                                                  CASE NUMBER 4:18CR241 MAC/CAN
LOCATION Sherman                                                     USA                        Assigned
JUDGE Christine A. Nowak                                             V KAfr-t              JoHi .ioiA Appeared
DEPUTY CLERK K. Lee                                        SATHISH KUMAR PURAM (1)
COURT REPORTER Digital Recording                           NISHA BHAGWANDAS BAJAJ (2)
USPO:                                 .
Interpreter: Not Required                                      Defendant
BEGIN: ,» ' a, »v, U ' \
                                                                              (Y , „ • -far I
                                                               Attorney i'           i'
                                                                                                                        %
         INITIAL APPEARANCE
        ARRAIGNMENT

x       Defendant Sworn( 11            Interpreter Required


        Dft appears: (B with       without counsel      pro se     Counsel appears on behalf of defendant


                        5Clf        lArr
        Date of arrest: (Other district court & case #)

q/      Dft 1( 2, O dvised of charges, penalties, and rights

        Dft first appearance with counsel CIA appointed O tained Federal Public Defender appointed

        Attorney: I >> { i Ki ' i                          Pa t        \ Q\w\        -fw %

        Dft 1,1 advises the Court that he/she B has counsel: or,                          will hire counsel.

        Dft Requests appointed counsel, is sworn & examined re: financial status.

        Financial affidavit executed by dft. The court finds the defendant able unable to employ counsel.

                                         appointed                   U.S. Pub Defender appointed

        If dft cannot retain counsel, the court is to be advised within days so counsel may be appointed.



        Govt motion for detention       Govt oral motion for continuance       Oral Order granting      Oral Order denying

        Defendant oral motion to continue detention hearing                  Oral Order granting      Oral Order denying

        Arraignment set

        Detention Hrg set                          Temp Detention Order Pending Hearing

[l , Order setting conditions of release      Bond executed

        Dft signed Waiver of Detention Hearing.

        Dft remanded to custody of U.S. Marshal.

        Dft            motion

        Gvt              motion
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                                                            ARRAIGNMENT


0   Arraignment held


    Dft appears with counsel


    Dft |( 2< 0" sworn
              0 received copy of c arges 0/discussed charges with counsel                      charges read
, H waived reading of charges ,
                                                       4 3 Cow- tr I « tnA c-hmewt
    Dft t tmttrf ptcft- e f«t|
    Dft nters a plea of: lot guilty
    to i qu          ,-        g     i nACcfvn


    Pretrial Discover and Inspection Order entered. Case set for final pretrial conference / jury selection and trial setting on :
             _MAC//IALM Pretrial Date: i\ i/l9




    Defendant remanded to custody USM                              e
                                                                   Defendant lELEASED on conditions of release after out-processing by USM


    Recess
